Case 9:17-cr-80242-RLR Document 35 Entered on FLSD Docket 11/09/2018 Page 1 of 2



  Ns'
    .m d

                            U N ITE D STA TES DISTRIC T C O U R T
                            SO U TH ER N D ISTR IC T O F FLO R IDA

                        C A SE N O . 17-80242-C R -R O SEN BER G /H UN T

 U NITED STA TES O F A M ER ICA ,                                               Sealeo

  VS.                                                                 FILED by           D.C.

  AL EJA N DR O A ND R AD E C ED EN O ,                                  82V 28 2218
                                                                         STEVEN M LARIMORE
                                                                         CLERK U.s.ols'r.cT.
                D efendant.                                               s D ofFLA - MIAMI
                                   /

                       N O TIC E O F L lS PEN D EN S R E :FO R FEITU R E

  GRANTEEIS):Telsey PropertiesHoldingLLC
 TO : A LL PERSON S W H O M A Y CLA IM BY ,TH RO U GH ,O R UN D ER EITH ER A
      DEFEN DA N T AN D/OR GRAN TEE any interestin the realproperty described herein.

           NOTICE IS HEREBY GIVEN,pursuantto theprovisionsofFla.Stat.j48.23,asmade
 applicable hereto by 28 U.S.C.j1964,thaton December 18,2017,the United States filed a
 crim inallnform ation in the United States DistdctCourtfor the Southern DistrictofFlorida in the

 foregoingaction.Pursuantto 18U.S.C.j982(a)(1),theUnitedStatesofAmericaseekstoforfeit
 the real property located at 15231 Sunnyland Lane, W ellington, Florida 33414, including a1l

 buildings, fixtures, appurtenances, im provem ents,attachm ents and easem ents found therein or

 thereon,and w hich ism ore fully described as:

                Lot l9,Block 5,PA LM BEA CH PO INT,according to the m ap or platthereof as
                recorded in PlatBook 33,Page 133,Public Records ofPalm Beach County,Florida.

                ParcelIdentification N um ber:73-41-44-19-01-005-0190.
Case 9:17-cr-80242-RLR Document 35 Entered on FLSD Docket 11/09/2018 Page 2 of 2




        FURTHER NOTICE IS HEREBY GIVEN that the provisions of 21 U.S.C.j853(11)
 prohibitany claimanttothedescribedproperty from (1)interveningin thetrialorappealofthe
  criminalcase,or(2)commencingan action at1aw orequityagainsttheUnitedStatesconceming
 thevalidityofany alleged interestsubsequentto theInfonnation,exceptfollowingtheentryofany

  orderofforfeitureasprovidedby21U.S.C.j853(n).
                                         Respectfully subm itted,

                                         A RIA N A FA JA RDO O RSHA N
                                         UN ITED STA TES ATTORN EY

 Thisinstnzm entw as                         > =
 prepared by:                      By:   s/N alina Sombuntham
                                         NalinaSombuntham ( a.BarNo.96139)
                                         A ssistantUnited StatesA ttom ey
                                         E-mail:nalina.sombuntham@usdol
                                                                      '.gov
                                         99 N .E.4th Street-7th Floor
                                         M iam i,Florida 33132
                                         Telephone:(305)961-9224
                                         Facsimile:(305)536-4089
